              Case 2:09-cr-00380-WBS Document 54 Filed 02/08/10 Page 1 of 4


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 2
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 3   CR-S-09-380 WBS
     Fax (916) 447-0931
 4
     Attorney for Defendant
 5
     EMILIANO VERA-GIL
 6
                            IN THE UNITED STATES DISTRICT COURT
 7
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                      )       No. CR-S-09-380 WBS
                                                    )
10
                                                    )
            Plaintiff,                              )       STIPULATION AND (PROPOSED) ORDER
11
                                                    )       CONTINUING STATUS CONFERNCE
     v.                                             )
12
                                                    )       Date: February 8, 2010
     URIEL OCHOA-ESPINDOLA et al.,                  )       Time: 8:30 a.m.
13
                                                    )       Judge: Hon. William B. Shubb
                                                    )
14          Defendants.                             )
                                                    )
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                                                    )
                                                    )
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                    IT IS HEREBY stipulated between the United States of America through its
19
     undersigned counsel, Michael M. Beckwith, Assistant United States Attorney, together with
20
     counsel for defendant Uriel Ochoa-Espindola, Preciliano Martinez, Esq., counsel for defendant
21
     Jose Sergio Espindola, Mark J. Rosenblum, Esq., counsel for defendant Valentin Ramirez-
22
     Cardinez, Robert L. Forkner, Esq., counsel for defendant Rafael Arreola-Sahagun, Fred N.
23
     Dawson, Esq., counsel for defendant Emiliano Vera-Gil, John R. Manning, Esq., counsel for
24
     defendant Hector Carretero-Flores, Dwight M. Samuel, Esq., counsel for defendant Brenda
25

26
     Meza-Rodrigues, Olaf W. Hedberg, Esq., and counsel for defendant Luis Miguel-Rodrigues, Dan

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     F. Koukol, Esq., that the status conference presently set for February 8, 2010 be continued to

28   March 22, 2010, at 8:30 a.m., thus vacating the presently set status conference. Counsel for the



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              Case 2:09-cr-00380-WBS Document 54 Filed 02/08/10 Page 2 of 4



 1   parties agree that this is an appropriate exclusion of time within the meaning of Title 18, United
 2   States Code § 3161(h)(7)(B)(iv) (continuity of counsel/ reasonable time for effective
 3   preparation) and Local Code T4, and agree to exclude time from the date of the filing of the
 4
     order until the date of the status conference March 22, 2010.
 5
     IT IS SO STIPULATED
 6
     Dated: February 2, 2010                              /s/ Preciliano Martinez
 7                                                        PRECILIANO MARTINEZ
                                                          Attorney for Defendant
 8                                                        Uriel Ochoa-Espindola
 9   Dated: February 2, 2010                              /s/ Mark J. Rosenblum
                                                          MARK ROSENBLUM
10
                                                          Attorney for Defendant
11                                                        Jose Sergio Espindola

12   Dated: February 2, 2010                              /s/ Robert L. Forkner
                                                          ROBERT FORKNER
13                                                        Attorney for Defendant
14
                                                          Valentin Ramirez-Cardinez
     Dated: February 2, 2010                              /s/ Fred N. Dawson
15
                                                          FRED N. DAWSON
16                                                        Attorney for Defendant
                                                          Rafael Arreola-Sahagun
17
     Dated: February 2, 2010                              /s/ John R. Manning
18                                                        JOHN R. MANNING
19
                                                          Attorney for Defendant
                                                          Emiliano Vera-Gil
20
     Dated: February 2, 2010                              /s/ Dwight M. Samuel
21                                                        DWIGHT SAMUEL
                                                          Attorney for Defendant
22
                                                          Hector Carretero-Flores
23   Dated: February 2, 2010                              /s/ Olaf W. Hedberg
24                                                        OLAF HEDBERG
                                                          Attorney for Defendant
25                                                        Brenda Meza-Rodrigues
26
     Dated: February 2, 2010                              /s/ Dan F. Koukol
27                                                        DAN KOUKOL
                                                          Attorney for Defendant
28                                                        Luis Miguel Orrutia-Rodrigues


                                                      2
             Case 2:09-cr-00380-WBS Document 54 Filed 02/08/10 Page 3 of 4



 1
     Dated: February 2, 2010                   Benjamin B. Wagner
 2                                             United States Attorney

 3
                                               by: /s/ Michael M. Beckwith
 4
                                               MICHAEL M. BECKWITH
 5                                             Assistant United States Attorney

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                            IN THE UNITED STATES DISTRICT COURT
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 9
     UNITED STATES OF AMERICA,                      ) No. CR-S-09-380 WBS
                                                    )
10
                                                    )
            Plaintiff,                              ) ORDER TO
11
                                                    ) CONTINUE STATUS CONFERNCE
     v.                                             )
12
                                                    )
     URIEL OCHOA-ESPINDOLA et al.,                  )
13
                                                    )
                                                    )
14          Defendants.                             )
                                                    )
15
                                                    )
                                                    )
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            GOOD CAUSE APPEARING, it is hereby ordered that the February 8, 2010 status
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     conference be continued to March 22, 2010 at 8:30 a.m. I find that the ends of justice warrant an
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     exclusion of time and that the defendant’s need for continuity of counsel and reasonable time for
21
     effective preparation exceeds the public interest in a trial within 70 days. THEREFOR IT IS
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     FURTHER ORDERED that time be excluded pursuant to 18 U.S.C. § 3161 (h) (7) (B) (iv) and
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     Local Code T4 from the date of this order to March 22, 2010.
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     IT IS SO ORDERED.
25   Dated: February 5, 2010

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